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                                                            S DISTj	
                                     -	                 ç2'flE
                                                                                  /   L
          Paul name and prison number. 	

          v.	                                                             cviLAcTION NO.	                       Q- qi -
                                                                  -. )	   T. S District Cbrt)
                      •___(	    ,	                                    )
                        &r 1O

                                                                      )

          __________________________________________________________ )
          Name of parson(s) who violated ) 	                                              0




          your constitutional rights.	                                )
          (List the rzames of all tha	                                )
          persons.)	                                                  )

          I. PREVTOUS L?.WSETITS
               A.   Have you begun other lawsu.its4n state or federal court
                    dealing with the same or similar facts involved in this
                               action? YES (	               ) NO ( !)
                   B.          Have you begun other lawsuits in state or federal c6urt
                               relating to your imprisonment? YES ( ) NO ( ')
                   C.          If your ansver to A or B is yes, describe each lawsuit
                               in the space below. (I .f there is more than one lawsuit,
                               describe the additional lawsuits on another Leee .o.f
                               paper, using the same outline.)	                                         S


                               1. Parties to this previous                    lvsuit:.
                                     Plaintiff(s)	                        ./\ /

                                     Defendant(s)


                               2. Court (if federal court, name the	                           rict;.       i
                                     state oourt, name the county) _________________




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                  3.	   Docket riwaber	                -.
                  4.    Name o judge to whon case was assigned


                  5. Disposition (for aample: Was the case dismissed?
                       Was it appaa)ed? Is it still pending?) _________


                  6.    Approximate date of filing lawsuit ,'-1
                  7.         proximate date of disposition ________________
    II.      PLACE OP PRESENT CONFINENENT	                          '	                  1
                                                     CU

             PLACE OR INSTITUTION WRERE INCIDENT OCCURRED                           V
                                                      DL	 1?
    III.     N1IE AND ADDRESS OP INDIVIDtTh.L(S) OU ALLEGE VIOLATED YOUR
             CONSTIw.iONAL RIGR'1S.
                                                                  ADDRESS
             l	   çT4	               L).)4\	                                  7V
             2.                                                               71 C1V!L
             3.                                             O.	                L	       Ctrj	         I\L	         .
             4.                                                                     ?   Q(FJ
             5.


           . TRE DA	        ON	     SAID OITION OCED 	                                          7,

    V. STATE BRIEFLY THE GROURDS ON WHICH YOU BASE YOUR ALLEGATION
         THAT YOUR CONSTITUTIONAL RIGRTS ARE BEING VIOLATED:
             GUND ONE:	                          L(L
                  lc\ \1	               I   t	                           €c

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                                                 2
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    STATE BRIEFLY TI PACTS 2HICR SUPPORT THIS GROt1ND (State
    best yoi can the tiie, piaca ar4 manner and person. involVed.)

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                                 yv	         Cr-c
    GROt3ND TE: 	                                  ic-k?(                  tk) {     1 A'	           -oC)C
     L	        -	            1\\'C\	                      ")c.	                    f L	       5Ln	                 u,_j	     ti:	    i-
    SUPPORTING 'ACTS: 	                                 CkL.-t1 \	                                   ip	                    -

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    g.	                     Jv




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    • VI STATE ERIEPLY EflCLY	                         WT	      COURT TO DO FOR YOU
                NO LEGAL ARGWENT. CITE                NO CASES OR SThTD'rZS.
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                            •	      Signatu	    of.	    tiff(s)
            I ec1are, mder penalty of peri uz y that the foegoirig                is   true
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       and oorrect.	             .	                              .	
           EXECUTED on	                        .	                                      .
                                    (Date)	                     •

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                                                               t. •O---. 4L        )LL'
                                          Signatur . of . lintiff(s)




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